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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE


                                                         )
SYMANTEC CORPORATION,                                    )
a Delaware Corporation,                                  )
                                                         )
                          Plaintiff,                     )
                                                         )    C.A. No.
                                                         )
         v.                                              )
                                                         )    JURY TRIAL DEMANDED
                                                         )
ERICH SPANGENBERG, an individual; and                    )
IP NAVIGATION GROUP, LLC, a Texas Limited                )
Liability Company,                                       )
                                                         )
                                                         )
                          Defendants.                    )
                                                         )

         COMPLAINT FOR FRAUD AND NEGLIGENT MISREPRESENTATION

         Plaintiff Symantec Corporation, by and through its undersigned counsel, alleges the

following against Defendants Erich Spangenberg and IP Navigation Group, LLC.

                                              PARTIES

         1.        Plaintiff Symantec Corporation (“Symantec”) is a Delaware corporation with its

principal place of business at 350 Ellis Street, Mountain View, California 94043. Symantec is a

technology company that produces software and support for data security and information
management.

         2.        On information and belief, Defendant Erich Spangenberg (“Spangenberg”) is an

individual who can be located in Paris, France.

         3.        Defendant IP Navigation Group, LLC (“IP Nav”) is a Texas limited liability

company with its principal place of business at Chateau Plaza, 2515 McKinney Ave., Suite 1000,

Dallas, Texas 75201.        On information and belief, IP Nav was founded and is owned and

controlled by Defendant Spangenberg.

         4.        Spangenberg and IP Nav shall be referred collectively herein as “Defendants.”



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                                   JURISDICTION AND VENUE

           5.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 because

there is complete diversity of citizens between the parties and the amount in controversy exceeds

$75,000.

           6.      This Court has personal jurisdiction over Defendants and venue is proper within

this District under 28 U.S.C. §§ 1391(b)(3), (c)(2) and (c)(3). Venue is also proper because,

upon information and belief, Spangenberg resides outside the United States.

  GENERAL FACTUAL ALLEGATIONS SUPPORTING ALL CLAIMS FOR RELIEF
      SPANGENBERG AND IP NAV NEGOTIATE THE ORIGINAL AGREEMENT

           7.      Upon information and belief, IP Nav was founded in 2003 for the purpose of

monetizing intellectual property.       Spangenberg is the founder and Chairman of IP Nav.

Defendants are well-known patent monetization entities. At one point, IP Nav had a global

presence in the U.S., Europe and Asia, claimed to have generated hundreds of millions of dollars

in licensing revenue, and boasted about its diverse client base from Fortune 500 companies to

universities, as well as its extensive network of other monetizing entities and access to private

equity funds. At relevant times herein, IP Nav employees or affiliates included Jennifer Watkins

(General Counsel), Rick Sanchez (Director), Howard Goodman (CFO), David Pridham (CEO),

and Jonathon Skeels (Director of Business Development).

           8.      Upon information and belief, in or around late 2011, Defendants approached

Symantec to develop a patent monetization strategy. This was Symantec’s first foray into patent

monetization.

           9.      Defendants were the driving force behind the negotiations and requested that

ownership of Symantec’s patents be transferred to a separate holding company of Defendants’

choosing that would be controlled by Defendants. While ownership of the patents would be held

by this holding company, it was understood between the parties that Defendants would maintain

control over the patents and holding company for monetization purposes to the benefit of all

parties.

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         10.       On February 28, 2012, Symantec entered into a Patent Purchase Agreement

(“Original Agreement”) with Defendants via a holding company originally named Stec IP, LLC,

but whose name was later changed to Clouding IP LLC (“Clouding LLC”). The purpose of

Clouding LLC was to monetize certain patents owned by Symantec (“Patents”). Under the terms

of the Original Agreement, Symantec transferred to Clouding LLC some of its interest in the

Patents.      William J. Carter (“Carter”), the designated manager of Clouding LLC, executed the

Original Agreement on behalf of Clouding LLC; however, Carter was not directly involved in

any negotiations related to the Patents, but merely acted as a signatory of Clouding LLC for the
benefit of Defendants.

         11.       Upon information and belief, Defendants directed the monetization efforts,

including enforcement strategy, the communications with Clouding LLC’s counsel, and the

negotiations with enforcement targets. Upon information and belief, IP Nav and LSC Holdings,

LLC, an affiliate of IP Nav, provided the funding for the enforcement efforts, including payment

of expenses, and Clouding LLC did not directly fund any substantive enforcement efforts.      In

short, it was Defendants, not Clouding LLC, who were responsible for directing the monetization

efforts associated with the Patents, including overseeing any of the related infringement

litigation.

         12.       After entering into the Original Agreement, Clouding LLC began to undertake

enforcement efforts under the guidance of Defendants. In connection with those enforcement

efforts, Defendants remitted to Symantec two high-value payments (the first in November 2012

and the second in January 2013) pursuant to the terms of the Original Agreement. Payments

pursuant to the Original Agreement were intermittent and dependent on Defendants’

enforcement efforts. Symantec had no formal patent monetization system in place and relied

upon Defendants to accurately and timely remit payments owed under the Original Agreement.




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                           DEFENDANTS INDUCE SYMANTEC INTO

                           AMENDING THE ORIGINAL AGREEMENT

         13.       In 2013, however, certain developments in pending patent infringement litigations

in the United States District Court for the District of Delaware provided the opportunity and

motive for Defendants to defraud Symantec. Specifically, various third-party defendants in the

pending enforcement litigations had begun filing legal motions challenging Clouding LLC’s

standing to enforce the Patents on the grounds that the Original Agreement did not transfer

sufficient substantial rights to the Patents from Symantec to Clouding LLC. If those motions

were meritorious, Clouding LLC arguably would lack standing to bring enforcement campaigns

against third parties and would no longer be able to enforce the Patents under the Original

Agreement.

         14.       During this time, Defendants were in the process of negotiating a settlement with

RPX Corporation, a member-based patent risk management company which would provide a

license to the Patents to many of the defendants in the Delaware litigations. As part of the RPX

licensing deal, Defendants represented to Symantec that additional patents had to be transferred

to Clouding LLC in order for RPX to agree to any license.

         15.       Based on Defendants’ representations about RPX’s settlement demands,

Symantec agreed to transfer additional patents to Clouding LLC, which could then be licensed to

RPX. Defendants represented that Symantec’s share of royalties from an RPX settlement would

be in the millions of dollars.       On information and belief, Defendants and RPX reached a

settlement in principle between Clouding LLC and RPX’s clients involved in the pending

lawsuits.

         16.       On July 28, 2014, the pending lawsuits initiated by Clouding LLC were dismissed

after the United States District Court for the District of Delaware held that Clouding LLC did not

possess sufficient substantive rights to the Patents and therefore lacked standing to bring suit on

its own without joining Symantec (“Delaware Standing Decision”). As a result, the RPX deal



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fell through; however, Defendants failed to inform Symantec of this development, but continued

to maintain that Symantec must transfer additional patents to Clouding LLC.

         17.       Defendants used the Delaware Standing Decision as an opportunity to execute the

scheme to defraud Symantec. Defendants contacted Symantec about the possibility of amending

the Original Agreement. Defendants did so with the intent of inducing Symantec to relinquish

additional substantive interests in the Patents, which would allow Clouding LLC to transfer

ownership of the Patents to Marathon Patent Group (“Marathon”) without Symantec ever

receiving compensation for its interests in the Patents.
         18.       On information and belief, Defendants intentionally concealed this plan from

Symantec, and instead represented to Symantec that amendment of the Original Agreement was

only necessary to enable Clouding LLC to continue monetizing the Patents, including the

addition of patents to close on the RPX settlement and license agreement. Defendants already

knew, however, that RPX had withdrawn from the previous agreement in principle and,

therefore, there would be no reason for Symantec to include any additional patents into any

amended agreement.

         19.       Based on Defendants’ representations alleged above, on August 11, 2014,

Symantec entered into the Amended and Restated Patent Purchase Agreement (hereinafter,

“Amended Agreement”). Like before, Carter executed the Amended Agreement on behalf of

Clouding LLC. The Amended Agreement included the additional patents that Defendants had

represented were a necessary addition for the RPX deal. Had Symantec known that Defendants’

settlement agreement with RPX had fallen through, however, Symantec would not have included

those additional patents into the Amended Agreement.

               DEFENDANTS ARRANGE FOR MARATHON PATENT GROUP

                     AND CLOUDING CORP TO ACQUIRE THE PATENTS

         20.       Defendants and Marathon have close business ties that date back for years. Like

Defendants, Marathon is a patent monetization entity and a publicly traded corporation under the



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stock symbol MARA. Douglas Croxall is Marathon’s founder, CEO and serves on its Board of

Directors, Francis Knuettel serves as CFO, and James Crawford serves as COO.

         21.       Defendants and Croxall have a long relationship spanning over a decade.

According to Marathon’s website, prior to Marathon, Croxall was the CEO and Chairman of

Firepond. While at Firepond, Croxall engaged IP Nav and generated approximately $90 million

in licensing revenues from 2004 through 2009 based on Firepond’s patents.

         22.       Likewise, Defendants and Marathon have a long term relationship. For example,

according to Marathon’s SEC filings, in May 2013 Marathon entered into a nine-year advisory
services agreement (the “Advisory Services Agreement”) with IP Nav. The terms of the

Advisory Services Agreement provide that, in consideration for its services as intellectual

property licensing agent, Marathon will pay IP Nav between 10% and 20% of the gross proceeds

of certain licensing campaigns. Upon information and belief, Defendants act as an agent for

Marathon with respect to any dealing involving the Patents.

         23.       According to Marathon’s SEC filings, in May 2014 Marathon entered into an

opportunity agreement (the “Marathon Opportunity Agreement”) with Defendants. The terms of

the Marathon Opportunity Agreement provide that Marathon has the option to provide up to 50%

of the funding for certain opportunities relating to licensing, intellectual property acquisitions

and/or intellectual property enforcement actions by Spangenberg, IP Nav or any entity controlled

by Spangenberg.

         24.       As another example, according to Marathon’s SEC filings on May 2, 2014:


                   [Marathon] completed the acquisition of certain ownership rights []
                   from TechDev, Granicus and SFF pursuant to the terms of three
                   purchase agreements between: (i) [Marathon], TechDev, SFF and
                   DA Acquisition LLC, a newly formed Texas limited liability
                   company and wholly-owned subsidiary of [Marathon]; (ii)
                   [Marathon], Granicus, SFF and IP Liquidity Ventures Acquisition
                   LLC, a newly formed Delaware limited liability company and
                   wholly-owned subsidiary of [Marathon]; and (iii) [Marathon],
                   TechDev, SFF and Sarif Biomedical Acquisition LLC, a newly
                   formed Delaware limited liability company and wholly-owned

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                   subsidiary of [Marathon]. TechDev, SFF and Granicus are owned
                   or controlled by Erich Spangenberg or family members or
                   associates.

         25.       Upon information and belief, Spangenberg is a significant shareholder in

Marathon. According to SEC filings, in 2013, Spangenberg and his wife Audrey Spangenberg

collectively owned 8 million shares of Marathon stock. Moreover, according to Marathon’s SEC

filings on May 10, 2016:

                   [Marathon] entered into an executive employment agreement with
                   Erich Spangenberg (“Spangenberg Agreement”) pursuant to which
                   Spangenberg would serve as the Company’s Director of
                   Acquisitions, Licensing and Strategy. As part of the consideration,
                   [Marathon] agreed to grant Mr. Spangenberg a ten-year stock
                   option to purchase an aggregate of 125,000 shares of Common
                   Stock, with a strike price of $7.48 per share, vesting in twenty-four
                   (24) equal installments on each monthly anniversary of the date of
                   the Spangenberg Agreement.

         26.       Key IP Nav employees were subsequently employed by Marathon, including

Jennifer Watkins, who became Marathon’s Corporate Counsel, and Rick Sanchez, who became

Marathon’s Senior Vice President of Licensing overseeing all aspects of licensing.         Upon

information and belief, Jennifer Watkins, Rick Sanchez and Howard Goodman were involved in

the scheme to defraud Symantec, including managing the enforcement efforts related to the

Patents.
         27.       Immediately after Symantec and Clouding LLC entered into the Amended

Agreement, Defendants began arrangements for Clouding LLC to transfer the Patents to

Marathon and Clouding Corp under the guise of an arms-length transaction. Defendants failed to

inform Symantec that the Patents had been transferred from Clouding LLC to Marathon and

Clouding Corp.

         28.       Marathon’s SEC documents state that its wholly-owned subsidiary Clouding Corp

acquired the Patents from Clouding LLC:




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                   On August 29, 2014, [Marathon] entered into a patent purchase
                   agreement (the “Clouding Agreement”) between Clouding Corp., a
                   Delaware corporation and a wholly owned subsidiary of
                   [Marathon] (“Clouding”) and Clouding IP, LLC, a Delaware
                   limited liability company (“Clouding IP”), pursuant to which
                   Clouding acquired a portfolio of patents from Clouding IP.
                   Clouding owns patents related to network and data management
                   technology.

         29.       Marathon’s SEC documents state that it paid the $2.4 million cash purchase price

for the Patents to Clouding LLC:

                   [Marathon] paid Clouding [LLC] (i) $1.4 million in cash, (ii) $1.0
                   million in the form of a promissory note issued by [Marathon] that
                   matures on October 31, 2014 . . . the promissory note was paid in
                   full prior to October 31, 2014.

         30.       The Clouding Agreement included as an exhibit to Marathon’s SEC filings lists

Clouding LLC, Clouding Corp and Marathon as parties to the agreement. Also included as an

exhibit to Marathon’s SEC filings is a Common Interest Agreement between IP Nav, Clouding

LLC and Clouding Corp, which demonstrates the close ties between the parties.

         31.       However contrary to Marathon’s representation made in its SEC filings, upon

information and belief, Clouding LLC did not receive any cash for the Patents, rather the $2.4

purchase money was paid directly to Defendants. Defendants merely used Clouding LLC as a

pass through entity that upon information and belief had de minimis operating funds; rather,
Defendants funded the enforcement activities and any enforcement funds received by Clouding

LLC was passed through to Defendants.

         32.       On information and belief, the Clouding Agreement was not an arms-length

transaction.       Marathon and Clouding Corp did not pay Clouding LLC fair and adequate

consideration for the Patents.




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                     AFTER TRANSFER OF THE PATENTS, DEFENDANTS

      NEGOTIATE ADDITIONAL LICENSES ON BEHALF OF CLOUDING CORP

         33.       CA, Inc. Settlement and License Agreement: On July 26, 2013, Clouding LLC

filed suit against CA, Inc. alleging infringement of certain Patents. Upon information and belief,

Defendants on behalf of Clouding LLC then initiated settlement discussions with CA, Inc. Upon

information and belief, the settlement discussions continued into mid-2014, including the

exchange of a draft settlement agreement.

         34.       On July 28, 2014, the Delaware Standing Decision issued. On August 29, 2014,

Defendants transferred the Patents to Marathon and Clouding Corp. On September 10, 2014,

Clouding Corp refiled an action against CA, Inc. Upon information and belief, Defendants

reinitiated settlement discussions on behalf of Clouding Corp.

         35.       On October 30, 2014, according to Marathon’s SEC filings, Clouding Corp

entered into a settlement and licensing agreement with CA, Inc. Defendants did not inform

Symantec of the CA, Inc. settlement or remit any payment owed under the Amended Agreement.

         36.       RPX Settlement and License Agreement: Before the Delaware Standing Decision
issued, Defendants were also negotiating a high-value settlement with RPX, which represented

numerous defendants in settlement negotiations. Upon information and belief, the settlement

discussions continued into mid-2014, including the exchange of a draft settlement agreement.

Defendants represented to Symantec that it would have to transfer additional patents to Clouding

LLC before RPX would agree to any settlement, and promised millions to Symantec if the RPX

deal closed.

         37.       Subsequently, the Delaware Standing Decision issued and upon information and

belief, RPX walked away from the pending deal. Defendants failed to tell Symantec that the

RPX deal was no longer on the table, which obviated the need for Symantec to transfer

additional patents. Instead, based on Defendants’ false representations and omissions, Symantec

agreed to transfer additional patents to Clouding LLC.



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         38.       Upon information and belief, once Defendants transferred the Patents to Marathon

and Clouding Corp, Defendants resumed intensive negotiations with RPX and closed a

settlement and licensing deal. According to Marathon’s SEC documents, “[o]n September 30,

2014, Clouding Corp., a wholly owned subsidiary of [Marathon], entered into a Patent License

and License Option Agreement with RPX.” Defendants did not inform Symantec of the RPX

settlement or remit any payment owed under the Amended Agreement.

         39.       AT&T Settlement and License Agreement: On July 26, 2013, Clouding LLC

filed suit against AT&T Corp. (“AT&T”) alleging infringement of certain Patents.             Upon

information and belief, Defendants on behalf of Clouding LLC then initiated settlement

discussions with AT&T.

         40.       On July 28, 2014, the Delaware Standing Decision issued. On August 29, 2014,

Defendants transferred the Patents to Marathon and Clouding Corp. On September 10, 2014,

Clouding Corp refiled an action against AT&T.             Upon information and belief, Defendants

reinitiated settlement discussions on behalf of Clouding Corp.

         41.       On August 24, 2015, according to Marathon’s SEC filings, Clouding Corp entered

into a settlement and licensing agreement with AT&T. Defendants did not inform Symantec of

the AT&T settlement or remit any payment owed under the Amended Agreement.

         42.       The Clouding Agreement also provides for future revenue payments to Clouding

LLC. Marathon’s SEC filing summarizes the future revenue payments as “(iv) fifty percent

(50%) of the net recoveries (gross revenues minus certain defined expenses) in excess of $4.0

million in net revenues that [Marathon] makes with respect to the patents purchased from

[Clouding LLC].” Upon information and belief, no payment was made to Clouding LLC for the

funds received from the RPX, CA, Inc. and AT&T settlement and licensing deals; rather, any

funds owed under the Clouding Agreement was paid directly to Defendants.




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                          SYMANTEC BELATEDLY LEARNS ABOUT

                     THE TRANSFER OF OWNERSHIP OF THE PATENTS

         43.       Defendants and Marathon actively concealed from Symantec that Clouding LLC

purportedly had transferred the Patents to Marathon and Clouding Corp in a putative arms-length

transaction. Defendants and Marathon knew that if Symantec had been made aware that the

Patents had been sold, and that there would be no settlement agreement between Clouding LLC

and RPX, Symantec would have initiated legal action and challenged that alleged sale.

         44.       Because of Defendants’ and Marathon’s active concealment, Symantec continued

to believe that Clouding LLC was continuing to enforce the Patents in infringement litigation.

Indeed, Symantec did not learn of the transferred ownership of the Patents until nearly a year

after its in-house legal counsel began an investigation.

         45.       Symantec learned for the first time in August 2015 that Clouding LLC had

allegedly transferred the Patents in 2014. In an August 25, 2015 email, Jennifer Watkins, IP Nav

Legal Counsel, represented that “IPNav has not worked with [Clouding LLC] for some time.

[Clouding LLC] was sold and the IPNav engagement letter terminated. We have not been

involved since the sale in mid-2014.” (emphasis added). Ms. Watkins further stated, “As you

have probably noticed from our website, IPNav has been mothballed and is basically going

inactive.”

         46.       Symantec’s in-house counsel continued to try and obtain answers from

Defendants. On September 16, 2015, Ms. Watkins doubled down on her misrepresentations

stating, “I have checked with Erich [Spangenberg] again on this. After [Clouding LLC] was

sold, IPNav was no longer involved. If you check the court records in Delaware, the case was

dismissed on standing grounds. We have no idea what happened after this . . . . If you have

additional questions, you should contact the owners.” (emphasis added). Upon information and

belief, Ms. Watkins’s statements were patently false; indeed, Ms. Watkins and Defendants were

deeply immersed with matters involving the Patents, including collecting enforcement revenue,



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until at least the end of 2015. Ms. Watkins’ denials were consistent with Defendants’ efforts

over the preceding year to conceal their fraudulent conduct from Symantec.

         47.       Upon information and belief, Defendants received over $5 million from Marathon

and Clouding Corp as a result of the sale and/or enforcement activities related to the Patents.


       COUNT ONE: INTENTIONAL MISREPRESENTATIONS AND OMISSIONS

         48.       Symantec hereby incorporates by reference all of the allegations set forth in the

preceding paragraphs as though fully set forth herein.

         49.       IP Nav and Spangenberg omitted material information from Symantec in order to

induce Symantec to enter into the Amended Agreement in August 2014, which would result in

the alienation of Symantec’s interests in the Patents. Among other things, Defendants knew that

Symantec had agreed to include additional patents into the Amended Agreement based on

Defendants’ previous representations that those additional patents were necessary in order to

effect a settlement agreement with RPX.          Defendants, however, purposefully refrained from

informing Symantec that RPX had elected to withdraw from any settlement with Clouding LLC

after the Delaware Standing Decision was issued.

         50.       Defendants knew that if Symantec had known that RPX had withdrawn from the

proposed settlement, Symantec would not have entered into the Amended Agreement.

Nevertheless, Defendants continued to insist that Symantec include the additional patents in the

Amended Agreement, in order to mislead Symantec into believing that the settlement with RPX

was still active. Accordingly, Defendants purposefully omitted informing Symantec of the

development with RPX so that Symantec would continue to enter into the Amended Agreement.

Defendants engaged in these omissions because they knew and intended that Marathon and

Clouding Corp would ultimately acquire the Patents and separately enter into a settlement

agreement with RPX, which would result in no royalties being tendered to Symantec.




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         51.       Symantec reasonably relied on the representations of Defendants when it entered

into the Amended Agreement with Clouding LLC.               Additionally, Defendants’ omission of

material information also induced Symantec into entering into the Amended Agreement.

         52.       Symantec has been harmed by Defendants’ tortious conduct as the Patents have

been sold, assigned, or transferred to Marathon and Clouding Corp without Symantec receiving

the payment to which it is due.

         53.       As a direct and proximate result of its reasonable reliance on Defendants’

representations, upon information and belief, Symantec has suffered damages in an amount
according to proof to be determined at trial.

         54.       IP Nav and Spangenberg acted willfully, oppressively, maliciously, and in wanton

and conscious disregard of the rights of Symantec, in engaging in their conspiracy to defraud

Symantec. Therefore, punitive damages should be assessed against all Defendants in an amount

that will be sufficient to discourage it and others from such fraudulent conduct in the future.

                      COUNT TWO: NEGLIGENT MISREPRESENTATION

         55.       Symantec hereby incorporates by reference all of the allegations set forth in the

preceding paragraphs as though fully set forth herein.

         56.       IP Nav and Spangenberg made material omissions to Symantec regarding the

Amended Agreement. Among other things, Defendants represented to Symantec that it was

necessary to include additional patents in the Amended Agreement so that Defendants could

finalize the settlement with RPX.          Defendants knew, or should have known, that these

representations were untrue because RPX had already broken off settlement discussions with

Defendants, yet failed to tell Symantec.

         57.       These representations were false, as IP Nav and Spangenberg knew that the

inclusion of the patents would not result in any settlement between Clouding LLC and RPX.

         58.       As a result of these misrepresentations, Symantec was wrongly induced into

entering into the Amended Agreement.



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         59.       Symantec reasonably relied on Defendants’ representations and agreements set

forth in the Amended Agreement when it entered into the Amended Agreement with Clouding

LLC.

         60.       Symantec has been harmed by Defendants’ tortious conduct as the Patents,

including the additional patents, have been sold, assigned, or transferred to Marathon and

Clouding Corp without Symantec receiving the payment to which it is due.

         61.       As a direct and proximate result of its reasonable reliance on these

representations, upon information and belief, Symantec has suffered damages in an amount
according to proof to be determined at trial.



                                      PRAYER FOR RELIEF

         Wherefore, Symantec prays for judgment against Defendants as follows:

         1. That the Court enter judgment in favor of Symantec on all counts;

         2. That the Court award Symantec all of its damages associated with each claim in this

               complaint, including incidental and consequential damages flowing from Defendants’

               conduct;

         3. For punitive damages;

         4. For reasonable costs and attorneys’ fees; and

         5. For such other and further relief as the Court may deem proper.



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Dated: December 29, 2017
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